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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA



CHRISTINA FLEURISSAINT,                                              Case No. _____________________


      Plaintiff
                                                                     JURY TRIAL DEMANDED
vs.

MERCANTILE ADJUSTMENT BUREAU, LLC

     Defendant.
_____________________________________/

                                    COMPLAINT FOR DAMAGES

       Comes now Plaintiff, Christina Fleurissaint, by and through undersigned counsel, Nirav Desai,

and states the following:

                              INTRODUCTION AND JURISDICTION

1.     This is an action for statutory damages brought by an individual consumer for violations of the

Fair Debt Collections Practices Act, 15 U.S.C. §1692 et. seq. (“FDCPA”).

2.     Court has jurisdiction of the FDCPA claim under 15 U.S.C. §1692k(d) and 28 U.S.C. §1331.

3.     Venue is appropriate in this Court because Defendants directed its’ illicit conduct at Plaintiff in

Broward County, Florida.

4.     Plaintiff demands a trial by jury on all issues so triable.

                                                 PARTIES

5.     Plaintiff is a natural person currently residing in Broward County, Florida. Plaintiff is a

consumer within the meaning of the FDCPA. The alleged debt owed arises out of consumer, family

and household transactions.

6.     Defendant, MERCANTILE ADJUSTMENT BUREAU, LLC is a foreign corporation with its

principal place of business in Williamsville, NY.
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7.      Defendant is engaged in the collection of debts from consumers using the mail and telephone in

Florida. Defendant is a “debt collector” as defined by the FDCPA. 15 U.S.C. §1692a(6).

8.      Defendant’s collection activity of which Plaintiff complains occurred within the previous

twelve (12) months for the FDCPA claim.

                                                 FACTS

9.      The alleged debt from Defendant stems from Regional Acceptance Corp for $18,248.

10.     Defendant mailed Plaintiff a dunning letter on April 8, 2020 attempting to collect on the alleged

debt.

11.     The dunning letter stated “Please be advised that we can offer you the opportunity to resolve

this account for less than the balance owed. We can resolve this account for $8211, which must be

received in accordance with the following payment schedule: $7,000 due by 4-30-20, $1,211 due by 5-

30-20. Failure to comply with these proposed conditions will make this offer null and void.”

12.     In response to the dunning letter the parties spoke on the phone on or around April 9, 2020.

Defendant's agent told her that she could break the settlement offer of $8,211 into three payments

where Plaintiff would pay $7,000 in April, around $600 in May and around $600 in June.

13.     Plaintiff was later transferred to a manager during the call and the manager advised Plaintiff that

in order to take advantage of the settlement offer she would need to make a one-time payment of

$8,211.

14.     The manager later said that she could make two payments but the payment would have to be

within 30 days. As once a settlement offer is made the consumer has 30 days to make a payment to

take advantage of the offer.

15.     The manager finished the call by saying that the offer that I am giving you is the best offer I can

give you and there is no wiggle room. I am not going to tell you something that I can or can not do as I

would be breaking the law if I lied to you.

16.     The parties spoke about two days later for a second time. During the call Defendant's agent
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informed Plaintiff that because she made a complaint with the Florida Attorney General that she could

not make a payment on the account and Defendant could not discuss any settlement options with her.

17.    However, moments later on the call the agent said that their best offer was $8,211 and it was

good only until the end of April.

18.    The parties spoke again a day or two days later for a third time. During the call Plaintiff asked

Defendant's agent if she could take advantage of the settlement offer in June? The agent replied that

she could take advantage of the settlement offer as long as Defendant had the file.

19.    Plaintiff then asked if she could make one of the payments in July? The agent responded that if

Defendant has the account the agent will work with Plaintiff as long as we have the file.

20.    The agent also advised Plaintiff that the hold from the Attorney General complaint was removed

and she could now pay on account.

21.    Accordingly, Plaintiff paid (or attempted to pay) the $6,700 during the call and Defendant

advised Plaintiff that she could pay the remaining balance of roughly $1,500 in May to take advantage

of the settlement offer.

22.    Defendant subsequently mailed Plaintiff a letter on or around April 10 that indicated they have

received payment of the $6,700 and her balance was $11,548. This was a mischaracterization because

as per the terms of the settlement offer she should only have a balance for $1,511 in violation 15 U.S.C.

§1692e(2)(a)

23.    During all of Defendant's calls with the Plaintiff and dunning letters to Plaintiff they never

advised Plaintiff that if she settles the account for less then what is owed there could be negative tax

consequences or to consult with a tax professional.

24.    The discharge of a debt constitutes gross income under the Internal Revenue Code. 26 U.S.C. §

61(a)(12). If the discharge is of $600 or more, the discharging entity must file a 1099-C with the IRS.

26 U.S.C. § 6050P; 26 C.F.R. § 1.6050P-1. Regardless of whether the creditor is required to report the

discharge by way of a 1099-C, the debtor may be required to report the discharge as income.
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25.    Defendant's failure to disclose the negative tax consequences of settling an account for less then

what is allegedly owed was a misrepresentation and unconscionable means to collect on an alleged debt

in violation of 15 U.S.C. §1692e-f.

26.    Defendant's statement from paragraph 16 was a misrepresentation because Defendant

immediately after advising he could not discuss settlement with Plaintiff began to discuss settlement in

violation of 15 U.S.C. §1692e.

27.    Defendant collecting payment on the account, from paragraph 21, prior to researching and

validating Plaintiff's dispute with the Attorney General was an unconscionable means to collect on an

alleged debt in violation of 15 U.S.C. §1692f.

28.    Defendant's multiple time-sensitive settlement offers were not actually time-sensitive.

29.    The April 8 dunning letter to Plaintiff indicated that $7,000 due by 4-30-20 and $1,211 due by

5-30-20. Failure to comply with these proposed conditions will make this offer null and void.

30.    During the parties first call Defendant advised Plaintiff originally that she could break the

settlement offer up into three different payments and pay the last payment in June, see paragraph 12.

31.    During the first call Plaintiff also spoke to a manager who then advised Plaintiff she could only

make a one-time payment on the account for $8,211 to settle the matter, see paragraph 13.

32.    The manager then contradicted the previous statement and said Plaintiff could make two

payments but they would have to be within 30 days once the settlement offer was made, as settlement

offers are only good for 30 days, see paragraphs 14-15.

33.    The second time the parties spoke the agent told Plaintiff that the only settlement offer on the

account was a one-time payment for $8,211 and it was good only until end of April, see paragraph 17.

34.    The third time the parties spoke the agent said she could take advantage of the settlement offer

in June or July or as long as Defendant had the file, see paragraphs 18-19.

35.    After Defendant made these settlement offers to Plaintiff on the phone, they never disclosed to

Plaintiff that they are not obligated to renew their offers.
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36.     Defendant's multiple time-sensitive settlement offers were not actually time-sensitive, including

but not limited to: the dunning letter offering a very specific payment plan, Defendant telling Plaintiff

she has to pay a one-time payment by the end of April, Defendant telling Plaintiff she can break the

payments up into three payments and then two payments, Defendant telling Plaintiff settlement offers

are only good for 30 days when they are offered, Defendant advising Plaintiff she could pay in June or

July and then telling Plaintiff that she could take advantage of the settlement offer as long as Defendant

had the file.

37.     Defendant's false time-sensitive settlement offers were misrepresentations intended to deceive

Plaintiff into paying on the account in violation of 15 U.S.C. §1692e.

38.     Defendant's actions have caused Plaintiff to incur actual damages, attorney’s fees, as well as

emotional distress.

                       COUNT I: VIOLATION OF THE FDCPA

39.     Plaintiff re-alleges and incorporates by reference the above paragraphs.

40.     Defendant regularly attempts to collect consumer debts asserted to be due to another and at all

relevant times herein, was a “debt collector” as defined by 15 U.S.C. §1692a(6).

41.     A single action on the part of the debt collector can violate multiple sections of the FDCPA.

42.     In its attempts to collect the alleged debt from Plaintiff, Defendant has committed violations of

the FDCPA, 15 U.S.C §1692 et. seq. including, but not limited to the following:

        a. Defendant made statements that were misrepresentations intended to deceive Plaintiff into

paying on the alleged debt in violation of 15 U.S.C. §1692e;

        b. Defendant utilized unconscionable means in their attempt to collect on the alleged debt in

violation of 15 U.S.C. §1692f.

        c. Defendant mischaracterized the amount, character or legal status of the debt in violation of

1692e(2)(a).

WHEREFORE, Plaintiff respectfully requests that judgment be entered against Defendant for:
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       A. Declaratory judgment that Defendant’s conduct violated the FDCPA;

       B. Actual damages;

       C. Release of the alleged debt;

       D. Statutory damages, costs, litigation expenses and attorney’s fees pursuant to 15 USC

          1692(k); and

       E. For such other relief as the Court may deem just and proper.

                                    DEMAND FOR JURY TRIAL

Plaintiff, CHRISTINA FLEURISSAINT, hereby demands a trial by jury of all issues so triable.

DATED: June 3, 2020.

                                          Respectfully Submitted,

                                           By:/s/ Nirav A. Desai              .
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                                           Nirav A. Desai, Esq.
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